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 PROB 12C                                                                            Report Date: February 23, 2024
(6/16)

                                       United States District Court                                 FILED IN THE
                                                                                                U.S. DISTRICT COURT
                                                                                          EASTERN DISTRICT OF WASHINGTON
                                                       for the
                                                                                           Feb 23, 2024
                                        Eastern District of Washington                         SEAN F. MCAVOY, CLERK



                     Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Kenneth Richard Rowell                    Case Number: 0980 2:13CR06070-SAB-1

 Address of Offender:                            Kennewick, Washington 99337

 Name of Sentencing Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Stanley A. Bastian, Chief U.S. District Judge

 Date of Original Sentence: May 19, 2014

 Original Offense:        Distribution of a Controlled Substance - Methamphetamine, 21 U.S.C. §§ 841(a)(1), and
                          (b)(1)(B)(viii)

 Original Sentence:       Prison - 120 months                Type of Supervision: Supervised Release
                          TSR - 8 years

 Asst. U.S. Attorney:     To be assigned                     Date Supervision Commenced: May 10, 2022

 Defense Attorney:        To be assigned                     Date Supervision Expires: May 9, 2030


                                           PETITIONING THE COURT

To issue a summons.

On May 13, 2022, all the conditions of supervised release were reviewed with Mr. Rowell. He signed a copy of his
conditions, and was provided with a copy. He was referred to Merit Resource Services (Merit) for substance abuse
treatment and for random drug testing.

The probation officer believes that the offender has violated the following condition(s) of supervision:

Violation Number        Nature of Noncompliance

            1           Special Condition # 16: You shall abstain from the use of illegal controlled substances, and
                        shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                        supervising officer, but no more than six tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                        release by consuming a controlled substance, amphetamines, on or about November 6, 2023.

                        The undersigned officer learned from the treatment counselor at Merit that Mr. Rowell was
                        instructed to complete a random treatment drug test on November 6, 2023. Mr. Rowell was
                        defensive and argumentative. He completed the drug test, which was presumptive positive for
                        amphetamines. Per the treatment counselor, Mr. Rowell admitted to using amphetamines on
                        that same date.
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          2     Special Condition # 17: You shall abstain from alcohol and shall submit to testing (including
                urinalysis and Breathalyzer), as directed by the supervising officer, but no more than six tests
                per month, in order to confirm continued abstinence from this substance.

                Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                release by consuming alcohol on or about November 6, 2023.

                As noted above, the treatment counselor at Merit reported to this officer Mr. Rowell was
                instructed to complete a random treatment drug test on November 6, 2023, and this drug test
                was presumptive positive for alcohol. Per the treatment counselor, Mr. Rowell admitted to
                using alcohol on that same date.


          3     Special Condition # 16: You shall abstain from the use of illegal controlled substances, and
                shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                supervising officer, but no more than six tests per month, in order to confirm continued
                abstinence from these substances.

                Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                release by submitting an invalid urine specimen for drug testing in an attempt to defeat drug
                testing as required, on or about December 1, 2023.

                On December 1, 2023, Mr. Rowell reported to the probation office for drug testing. He
                completed the drug test, and the results were presumptive positive for methamphetamine. Mr.
                Rowell denied any drug use when questioned by the probation officer, and he smiled as he
                said, “It’s suppose to be clean.” After further questioning, he admitted to this officer to having
                used methamphetamine on or about November 29, 2023. The drug test report was later
                received from the national laboratory reporting the specimen was invalid and not consistent
                with normal human urine.

                On December 5, 2023, this officer made telephonic contact with Mr. Rowell and questioned
                him about the invalid specimen he previously provided. At first, he denied tampering, using
                a device, or any efforts to defeat the drug test. However, he later admitted to using a catheter
                with pickle juice and food coloring, to defeat the drug test. He went on to further explain he
                first drinks excessive amounts of water to flush out his bladder, then uses saline water to finish
                flushing his bladder. Using a catheter through the inside of his urethra, he inserts the fake
                solution into his bladder. He reported he then has about 1 hour to provide the sample before
                his own real urine begins to get mixed up with the invalid solution.


          4     Special Condition # 16: You shall abstain from the use of illegal controlled substances, and
                shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                supervising officer, but no more than six tests per month, in order to confirm continued
                abstinence from these substances.

                Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                release by using a controlled substance, methamphetamine, on or about November 29, 2023.
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                      On December 1, 2023, Mr. Rowell admitted to this officer to having used methamphetamine
                      on or about November 29, 2023, as detailed above in violation #3.

          5           Special Condition # 16: You shall abstain from the use of illegal controlled substances, and
                      shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                      supervising officer, but no more than six tests per month, in order to confirm continued
                      abstinence from these substances.

                      Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                      release by using controlled substances, cocaine, methamphetamine, and amphetamines, on or
                      about December 27, 2023.

                      On December 27, 2023, Mr. Rowell reported to Merit for drug testing as required. This drug
                      test was presumptive positive for cocaine, methamphetamine, and amphetamine. Mr. Rowell
                      signed a drug use admission form admitting to using these substances.


          6           Special Condition # 16: You shall abstain from the use of illegal controlled substances, and
                      shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                      supervising officer, but no more than six tests per month, in order to confirm continued
                      abstinence from these substances.

                      Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                      release by using a controlled substance, methamphetamine, on or about January 5, 2024.

                      On January 10, 2024, this officer made telephonic contact with Mr. Rowell. During this
                      contact, he admitted to having last used methamphetamine on January 5, 2024.


          7           Special Condition # 16: You shall abstain from the use of illegal controlled substances, and
                      shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                      supervising officer, but no more than six tests per month, in order to confirm continued
                      abstinence from these substances.

                      Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                      release by failing to report for drug testing as required on or about December 5, 2023; and
                      January 3, and 11, 2024.

                      This officer previously instructed Mr. Rowell at the time of the initial intake appointment, to
                      call the color line at Merit daily, Monday through Friday, and report to Merit for drug testing
                      when his assigned color, brown, was called.

                      Merit reported Mr. Rowell failed to report for drug testing when his assigned color was called
                      on December 5, 2023, and on January 3 and 11, 2024, as required.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the defendant to appear to
answer to the allegation(s) contained in this petition.
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